        Case 18-18278-mdc       Doc 10 Filed 12/21/18 Entered 12/22/18 01:01:48                 Desc Imaged
                                     Certificate of Notice Page 1 of 4
                                      United States Bankruptcy Court
                                    Eastern District of Pennsylvania
In re:                                                                                  Case No. 18-18278-mdc
Michele A Battle                                                                        Chapter 7
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 0313-2           User: Lisa                   Page 1 of 2                   Date Rcvd: Dec 19, 2018
                               Form ID: 309A                Total Noticed: 35


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 21, 2018.
db             +Michele A Battle,   829 S. Cecil Street,    Philadelphia, PA 19143-2718
14247375       +Bank of America,   4909 Savarese Circle,    Fl1-908-01-50,   Tampa, FL 33634-2413
14247377       +Citibank North America,   Attn: Recovery/Centralized Bankruptcy,    Po Box 790034,
                 St Louis, MO 63179-0034
14247378       +Citibank/The Home Depot,   Attn: Recovery/Centralized Bankruptcy,    Po Box 790034,
                 St Louis, MO 63179-0034
14247385       +GreenSky Credit,   Attn: Bankruptcy,   Po Box 29429,    Atlanta, GA 30359-0429
14247387       +Lendmark Financial Services,   1735 North Brown Road,    Suite 300,
                 Lawrenceville, GA 30043-8228
14247388        Lillian Battle,   2220 W 14th Street,    Chester, PA 19013-2412
14247390       +Navient,   Attn: Bankruptcy,   Po Box 9000,    Wiles-Barr, PA 18773-9000

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: brad@sadeklaw.com Dec 20 2018 02:44:23        BRAD J. SADEK,    Sadek and Cooper,
                 1315 Walnut Street,    Suite 502,   Philadelphia, PA 19107
tr              EDI: BTPDERSHAW.COM Dec 20 2018 07:38:00       TERRY P. DERSHAW,     Dershaw Law Offices,
                 P.O. Box 556,   Warminster, PA 18974-0632
smg             E-mail/Text: megan.harper@phila.gov Dec 20 2018 02:45:25        City of Philadelphia,
                 City of Philadelphia Law Dept.,    Tax Unit/Bankruptcy Dept,     1515 Arch Street 15th Floor,
                 Philadelphia, PA 19102-1595
smg             E-mail/Text: RVSVCBICNOTICE1@state.pa.us Dec 20 2018 02:44:54
                 Pennsylvania Department of Revenue,     Bankruptcy Division,    P.O. Box 280946,
                 Harrisburg, PA 17128-0946
smg            +E-mail/Text: usapae.bankruptcynotices@usdoj.gov Dec 20 2018 02:45:10         U.S. Attorney Office,
                 c/o Virginia Powel, Esq.,    Room 1250,    615 Chestnut Street,     Philadelphia, PA 19106-4404
ust            +E-mail/Text: ustpregion03.ph.ecf@usdoj.gov Dec 20 2018 02:45:00         United States Trustee,
                 Office of the U.S. Trustee,    833 Chestnut Street,     Suite 500,    Philadelphia, PA 19107-4405
14247376       +EDI: CAPITALONE.COM Dec 20 2018 07:38:00       Capital One,    Attn: Bankruptcy,    Po Box 30285,
                 Salt Lake City, UT 84130-0285
14247379       +EDI: WFNNB.COM Dec 20 2018 07:38:00       Comenity Bank/Victoria Secret,     Attn: Bankruptcy Dept,
                 Po Box 182125,   Columbus, OH 43218-2125
14247380       +EDI: WFNNB.COM Dec 20 2018 07:38:00       Comenity Capital/mprc,     Po Box 182120,
                 Columbus, OH 43218-2120
14247381       +EDI: WFNNB.COM Dec 20 2018 07:38:00       Comenitycapital/gmstop,     Attn: Bankruptcy Dept,
                 Po Box 183003,   Columbus, OH 43218-3003
14247382       +EDI: WFNNB.COM Dec 20 2018 07:38:00       Comenitycapital/modell,     Attn: Bankruptcy Dept,
                 Po Box 182125,   Columbus, OH 43218-2125
14247384       +EDI: AMINFOFP.COM Dec 20 2018 07:38:00       First Premier Bank,     601 S Minnesota Ave,
                 Sioux Falls, SD 57104-4868
14247383       +EDI: AMINFOFP.COM Dec 20 2018 07:38:00       First Premier Bank,     Attn: Bankruptcy,
                 Po Box 5524,   Sioux Falls, SD 57117-5524
14247386       +EDI: CBSKOHLS.COM Dec 20 2018 07:38:00       Kohls/Capital One,     Kohls Credit,   Po Box 3120,
                 Milwaukee, WI 53201-3120
14247389       +EDI: MERRICKBANK.COM Dec 20 2018 07:38:00       Merrick Bank/CardWorks,     Attn: Bankruptcy,
                 Po Box 9201,   Old Bethpage, NY 11804-9001
14247391       +E-mail/Text: bnc@nordstrom.com Dec 20 2018 02:44:33        Nordstrom FSB,    Attn: Bankruptcy,
                 Po Box 6555,   Englewood, CO 80155-6555
14247392       +EDI: PRA.COM Dec 20 2018 07:38:00      Portfolio Recovery,     Po Box 41021,
                 Norfolk, VA 23541-1021
14247393       +EDI: RMSC.COM Dec 20 2018 07:38:00       Syncb/Mattress Firm,    Attn: Bankruptcy,     Po Box 965004,
                 Orlando, FL 32896-5004
14247394       +EDI: RMSC.COM Dec 20 2018 07:38:00       Syncb/Pandora,    Attn: Bankruptcy,    Po Box 965060,
                 Orlando, FL 32896-5060
14247395       +EDI: RMSC.COM Dec 20 2018 07:38:00       Synchrony Bank/Amazon,     Attn: Bankruptcy Dept,
                 Po Box 965060,   Orlando, FL 32896-5060
14247396       +EDI: RMSC.COM Dec 20 2018 07:38:00       Synchrony Bank/HH Gregg,     Attn: Bankruptcy,
                 Po Box 965060,   Orlando, FL 32896-5060
14247397       +EDI: RMSC.COM Dec 20 2018 07:38:00       Synchrony Bank/Lowes,    Attn: Bankruptcy Dept,
                 Po Box 965060,   Orlando, FL 32896-5060
14247398       +EDI: RMSC.COM Dec 20 2018 07:38:00       Synchrony Bank/TJX,    Attn: Bankruptcy Dept,
                 Po Box 965060,   Orlando, FL 32896-5060
14247399       +EDI: RMSC.COM Dec 20 2018 07:38:00       Synchrony Bank/Walmart,     Attn: Bankruptcy Dept,
                 Po Box 965060,   Orlando, FL 32896-5060
14247401        EDI: TFSR.COM Dec 20 2018 07:38:00       Toyota Financial Services,     Attn: Bankruptcy,
                 Po Box 8026,   Cedar Rapids, IA 52409
14247400       +EDI: WTRRNBANK.COM Dec 20 2018 07:38:00       Tnb-Visa (TV) / Target,
                 C/O Financial & Retail Services,    Mailstop BV    PO Box 9475,     Minneapolis, MN 55440-9475
14247402       +EDI: VERIZONCOMB.COM Dec 20 2018 07:38:00       Verizon,    Po Box 650584,    Dallas, TX 75265-0584
                                                                                                TOTAL: 27

            ***** BYPASSED RECIPIENTS *****
NONE.                                                                                           TOTAL: 0
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                                      Form ID: 309A                      Total Noticed: 35


             ***** BYPASSED RECIPIENTS (continued) *****

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 21, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 19, 2018 at the address(es) listed below:
              BRAD J. SADEK    on behalf of Debtor Michele A Battle brad@sadeklaw.com, bradsadek@gmail.com
              TERRY P. DERSHAW    td@ix.netcom.com, PA66@ecfcbis.com;7trustee@gmail.com
              United States Trustee    USTPRegion03.PH.ECF@usdoj.gov
                                                                                            TOTAL: 3
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Information to identify the case:
Debtor 1              Michele A Battle                                                  Social Security number or ITIN        xxx−xx−5221
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Eastern District of Pennsylvania
                                                                                        Date case filed for chapter 7 12/18/18
Case number:          18−18278−mdc


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15
**Debtor's Photo ID & Social Security Card Must Be Presented at 341 Hearing**

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Michele A Battle

2.      All other names used in the
        last 8 years

3.     Address                               829 S. Cecil Street
                                             Philadelphia, PA 19143

4.     Debtor's attorney                     BRAD J. SADEK                                          Contact phone 215−545−0008
                                             Sadek and Cooper
       Name and address                      1315 Walnut Street                                     Email: brad@sadeklaw.com
                                             Suite 502
                                             Philadelphia, PA 19107

5.     Bankruptcy trustee                    TERRY P. DERSHAW                                       Contact phone (484) 897−0341
                                             Dershaw Law Offices
       Name and address                      P.O. Box 556                                           Email: td@ix.netcom.com
                                             Warminster, PA 18974−0632
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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Debtor Michele A Battle                                                                                             Case number 18−18278−mdc


6. Bankruptcy clerk's office                    900 Market Street                                            Hours open:
                                                Suite 400                                                    Philadelphia Office −− 8:30 A.M. to
    Documents in this case may be filed at this Philadelphia, PA 19107                                       5:00 P.M Reading Office −− 8:00
    address. You may inspect all records filed                                                               A.M. to 4:30 P.M.
    in this case at this office or online at
    www.pacer.gov.
                                                                                                             Contact phone (215)408−2800

                                                                                                             Date: 12/19/18


7. Meeting of creditors                          January 16, 2019 at 11:30 AM                                Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              Office of the U.S. Trustee,
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            Meeting Room, Suite 501, 833
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.                                                     Chestnut Street, Philadelphia, PA
                                                                                                             19107

8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: 3/17/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                           page 2
